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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 22-CR-80173-CANNON

  UNITED STATES OF AMERICA,

          Plaintiff,
  vs.

  WILLIAM SPEARMAN,

          Defendant.
                                             /

        JOINT NOTICE OF ADDITIONAL TIME NEEDED FOR SENTENCING

          Defendant, WILLIAM SPEARMAN, through counsel, provides notice he

  expects sentencing will take longer than the 30 minutes this Court allotted. As

  grounds, he states:

                 1.     This Court scheduled sentencing for August 31, 2023 at 9:30 a.m.

          [DE 150] and allotted 30 minutes for that hearing. [DE 15].

                 2.     At sentencing, Dr. Amy Swan, a forensic psychologist who

          evaluated Mr. Spearman, will testify about her findings. In addition, Mr.

          Spearman may call one or two civilian witnesses. He expects his presentation

          to take approximately two hours.

                 3.     Undersigned counsel has contacted AUSA Kyle Reynolds and he

          advised the government’s sentencing presentation will take between 90

          minutes and two hours. The government expects to call no more than three

          witnesses – FBI SA David Backlund, SA Drew Steinmetz, and Data Scientist

          Jon-Robert Marsh.

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              4.     The parties also anticipate it will take approximately 30-45

        minutes to address the unresolved PSR objections.

        WHEREFORE Mr. Spearman respectfully notifies the Court that he expects

  the sentencing hearing will exceed the 30 minutes previously allotted for sentencing

  and requests this Court allow 5 hours to complete the hearing.

                                        Respectfully submitted,

                                        MICHAEL CARUSO
                                        FEDERAL PUBLIC DEFENDER

                                        s/ Scott Berry
                                        Scott Berry
                                        Assistant Federal Public Defender
                                        Attorney for the Defendant
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                             CERTIFICATE OF SERVICE

        I HEREBY certify that on August 22, 2023, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties identified

  on the attached Service List in the manner specified, either via transmission of

  Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.

                                          By: s/Scott Berry
                                              Scott Berry




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